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 1
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 4   Email:         chrisyerg@gmail.com
 5   Attorney for Plaintiff,
     Ronald Haus and Eva Berou
 6
 7                                 UNITED STATES DISTRICT COURT

 8                                         DISTRICT OF NEVADA

 9
      RONALD HAUS, an individual; and EVA
10                                                           CASE NO.: 2:20-cv-00263-RFB-NJK
      BEROU, an individual,
11
                             Plaintiffs,                     STIPULATION AND ORDER TO EXTEND
12    vs.                                                    TIME FOR PLAINTIFFS TO RESPOND TO
      THE BANK OF NEW YORK MELLON                            DEFENDANT’S MOTION TO DISMISS
13                                                           (SECOND REQUEST)
      FKA THE BANK OF NEW YORK AS
14    TRUSTEE FOR THE BENEFIT OF THE
      CERTIFICATE HOLDERS OF THE
15    CWALT, INC., ALTERNATIVE LOAN
      TRUST 2004-J09, MORTGAGE PASS
16    THROUGH CERTIFICATES, SERIES 2004-
      J09; SABLES LLC, a Nevada limited liability
17    company; DOE Individuals 1 through 10; and
      ROE Corporations 1 through 10, inclusive,
18
                             Defendants.
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21                  Plaintiffs, Ron Haus and Eva Berou, and Defendant, Bank of New York Mellon, by
22    and through their respective counsel of record, respectfully submit this stipulation and order to
23    continue the time for Plaintiffs to respond to Defendant’s Motion to Dismiss (ECF No. 16)
24    currently due April 30, 2020. Under the current circumstances due to the coronavirus pandemic,
25    lack of staff and other matters and issues have consumed the limited time of Counsel for Plaintiffs.
26    This is the second request for an extension and is not intended to prejudicially delay this matter.
27    Plaintiffs request a 10-day extension so that Plaintiff’s response now to be due May 11, 2020.
28   ///

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          Case 2:20-cv-00263-RFB-NJK Document 23 Filed 05/05/20 Page 2 of 2




 1   DATED this 30th day of April, 2020.             DATED this 30th day of April, 2020.
 2   AKERMAN LLP                                     CHRISTOPHER V. YERGENSEN, ESQ.
 3
     /s/ Nicholas Belay                              /s/ Christopher V. Yergensen
 4   Nicholas E. Belay, Esq.                         Christopher V. Yergensen, Esq.
     Nevada Bar No. 15175                            Nevada Bar No. 6183
 5   1635 Village Center Circle, Suite 200           395 Gatlinburg Court
     Las Vegas, NV 89134                             Henderson, NV 89012
 6
     Attorneys for Defendant                         Attorney for Plaintiffs
 7   Bank of New York Mellon, N.A.                   Ron Haus and Eva Berou.

 8
 9
10          IT IS SO ORDERED.
11
       ________________________________
12        Dated:_______________________
       RICHARD F. BOULWARE, II
13     UNITED STATES DISTRICT JUDGE
14     DATED this 5th day of May, 2020.      ________________________________________
                                             UNITED STATES DISTRICT COURT JUDGE
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